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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA


LLOYD LONG III, ESQUIRE
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Attorney for Plaintiff



Raul Reyes                                     :
                                               :
            c/o Krasner, Hughes, & Long, LLC   :
                1221 Locust St., Suite 301     :
                Philadelphia, PA 19107         :
                                               :
                              Plaintiff        :
       v.                                      :
                                               :
Commissioner Charles Ramsey;                   :
                                               :
Deputy Police Commissioner Kevin Bethel;       :
                                               :
Captain William V. Fisher                      :   No. 13-
      Badge No. 82;                            :
                                               :
Police Officer Joseph Sposato                  :   JURY TRIAL DEMANDED
       Badge No. 5368;                         :
Police Officer Darryl Crawford                 :
       Badge No. 7332;                         :
                                               :
Police Officer Rhonda C. Smith                 :
       Badge No. 1373;                         :
                                               :
Police Officer Darrell Sampson                 :
       Badge No. 8036;                         :
                                               :
Police Officer Angel Ortiz                     :
       Badge No. 9556;                         :
                                               :
Police Officer Joseph Sisca                    :
       Badge No. 9547;                         :

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                                                   :
Police Officers John Doe 1-25                      :
       Badge Nos. Presently Unknown;               :
                                                   :
Police Officers Jane Doe 1-25                      :
       Badge Nos. Presently Unknown;               :
                                                   :
AND                                                :
                                                   :
CITY OF PHILADELPHIA                               :
     A Municipal Corporation                       :
                                                   :
      All c/o City of Philadelphia Law Dept.       :
              1515 Arch St., 14th Floor            :
              Philadelphia, PA 19107               :
                                                   :
                     Defendants                    :
                                                   :


                                       COMPLAINT

                                     INTRODUCTION

   1. The cornerstone of our constitutional democracy is firmly rooted in the right to free

      speech embodied by the First Amendment of the United States Constitution. The First

      Amendment of the United States Constitution provides the principal bulwark against the

      government’s power to intrude upon the free expression of ideas, particularly dissenting

      ideas. Born of the struggle against tyranny over two centuries ago, the First Amendment

      embodies the heart and soul of our democracy; the right to speak freely, to assemble in

      protest, and to express shared ideas through a collective public voice. Those voices often

      express unpopular, dissenting views. Drafted in 1787 and ratified by the states in 1791,

      the First Amendment states:

                     “Congress shall make no law respecting an
                     establishment of religion, or prohibiting the free
                     exercise thereof; or abridging the freedom of speech, or
                     of the press; or the right of the people peaceably to

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                  assemble, and to petition the government for a redress
                  of grievances.”

   U.S. CONST. amend. I

2. Without this protection, freedom cannot survive. Ensuring that the right to political

   protest is protected under the First Amendment, courts of the United States have long

   recognized that free expression and association includes occupying public spaces in order

   to protest, demonstrate, march, and openly express opinions on political matters of public

   concern.

3. In September of 2011, inspired by the “Arab Spring” during which thousands rose up

   against tyranny and oppression in the Middle East, a small group of protestors occupied a

   park in New York City, New York. The original protestors came to demonstrate against

   the emergent corporate state and the demise of our democracy. Emblematic of this

   popular outcry against corporate power, greed, and the vast inequities in wealth and

   power between the rich and poor in this country, was the recognition that the majority of

   the people in this country, the "99%", had little or no say over the decisions made by the

   wealthy that compromise less than "1%" of the population. Like the spontaneous spark,

   a movement spread across manifesting in hundreds of Occupy encampments.

4. Here in Philadelphia, Pennsylvania, the cradle of liberty, Occupy Philadelphia

   participants gathered to express their individual and collective voices regarding some of

   the most important political, economic and social issues of our time. As with other

   Occupy associations throughout this country, Occupy Philadelphia emerged as

   association of individuals protesting against the control that corporations have over our

   government, usurping our democracy. Formed spontaneously in early October 2011, the

   association, known as "Occupy Philly," organized as a protest gathering, frequently

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referred to as an encampment, on Dilworth Plaza, a public forum, outside of City Hall in

Philadelphia, Pennsylvania.      This gathering (or encampment) served as an ongoing

demonstration in a public space, an expression of the cherished freedoms we enjoy under

the First Amendment of the United States Constitution. In response, the Philadelphia

Police Department, through orders from Defendant Commissioner Charles Ramsey,

Deputy Commissioner Bethel, and other known and presently unknown police officials,

in conjunction with federal authorities, maintained a constant presence through direct and

undercover surveillance, as well as infiltration, of the Occupy Philly demonstrators

during the course of the seven week protest. During this seven week gathering, there were

daily organizational meetings, seminars, and marches, many originating from this public

space. These marches and demonstrations exemplified the long storied tradition of free

expression, as they encompassed various matters of great public concern, such as the

predatory lending practices by major banks, the fleecing of the Philadelphia School

District by some of these same banks, the concentration of corporate power in companies,

like Comcast, headquartered here in Philadelphia, as well as the history of police brutality

experienced by the citizens of Philadelphia, and many other issues. This complaint seeks

compensation for the Plaintiff for the violations of his individual rights as set forth in this

complaint.




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                                           JURISDICTION

5. This action is brought pursuant to 42 U.S.C. § 1983, as well as the First, Fourth, and

   Fourteenth Amendments to the United States Constitution. Jurisdiction is founded upon

   28 U.S.C. §§ 1331 and 1334(1), (3), and (4). Plaintiff further invokes the supplemental

   jurisdiction under 28 United States Code § 1367 (a) to hear and decide claims under state

   law.



                                            PARTIES

6. Plaintiff, Raul Reyes, is an adult citizen who was present in Philadelphia, Pennsylvania at

   all times relevant to this Complaint.

7. Defendant, Commissioner Charles Ramsey, is and was at all time relevant to this

   complaint Commissioner of the Philadelphia Police Department and acting under the

   color of state law. He is being sued both in his individual and official capacities.

8. Defendant, Deputy Commissioner Kevin Bethel, is and was at all time relevant to this

   complaint a Deputy Commissioner of the Philadelphia Police Department and acting

   under the color of state law. He is being sued both in his individual and official

   capacities.

9. Defendant, Captain William Fisher, Badge No. 82, was at all time relevant to this

   complaint Captain of the Philadelphia Police Department and acting under the color of

   state law. He is being sued both in his individual and official capacities.

10. Defendant, Police Officer Joseph Sposato, Badge No. 5368 is and was at all time relevant

   to this complaint a member of the Philadelphia Police Department and acting under the

   color of state law. He is being sued both in his individual and official capacities.



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11. Defendant, Police Officer Darryl Crawford, Badge No. 7332 is and was at all time

   relevant to this complaint a member of the Philadelphia Police Department and acting

   under the color of state law. He is being sued both in his individual and official

   capacities.

12. Defendant, Police Officer Darrell Sampson, Badge No. 8036 is and was at all time

   relevant to this complaint a member of the Philadelphia Police Department and acting

   under the color of state law. He is being sued both in his individual and official

   capacities.

13. Defendant, Police Officer Angel Ortiz, Badge No. 9556 is and was at all time relevant to

   this complaint a member of the Philadelphia Police Department and acting under the

   color of state law. He is being sued both in his individual and official capacities.

14. Defendant, Police Officer Joseph Sisca, Badge No. 9547 is and was at all time relevant to

   this complaint a member of the Philadelphia Police Department and acting under the

   color of state law. He is being sued both in his individual and official capacities.

15. Defendant, Police Officer Rhonda Smith, Badge No. 1373 is and was at all time relevant

   to this complaint a member of the Philadelphia Police Department and acting under the

   color of state law. She is being sued both in her individual and official capacities.

16. Defendant Police Officers John Doe 1-25 and Jane Doe 1-25 are and were at all time

   relevant to this complaint a member of the Philadelphia Police Department and acting

   under the color of state law. The identities of these officers are presently unknown, but

   are expected to be determined with reasonably certainty during the course of discovery.

   They are being sued in their individual and official capacities.




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17. Defendant, City of Philadelphia, Pennsylvania is a municipal corporation and the public

   employer of the individually named Defendants.



                               FACTUAL BACKGROUND

18. Occupy Philadelphia is an association of protestors who gathered together on or about

   October 6, 2011 outside of City Hall in Philadelphia, Pennsylvania, to demonstrate

   against the vast inequity in wealth in this country. This gathering in a public space was a

   political statement addressing issues of great public concern and an exercise of First

   Amendment rights. In the cradle of liberty, the Occupy Philly members gathered in

   protest to express their individual and collective voices regarding some of the most

   importance issues of public concern facing this nation. The Philadelphia Police, in

   conjunction with federal authorities, maintained constant surveillance over the protestors

   during the course of the seven weeks the Occupy Philly protestors demonstrated outside

   of City Hall’s Dilworth Plaza, a public space in the heart of the Center City District in

   Philadelphia, Pennsylvania.     During the seven-week Occupy Philly demonstration,

   protestors participated in numerous peaceful marches and demonstrations throughout the

   City of Philadelphia. These peaceful marches and demonstrations offered protests on

   various matters of great public concern. While individuals engaged in these peaceful

   marches throughout the City of Philadelphia, they would travel through the streets

   exercising their First Amendment rights, always shadowed by a massive contingent of

   Philadelphia police officers, including, but not limited to, officers from the Philadelphia

   Police Civil Affairs Unit, bicycle patrols, intelligence unit, and other uniformed as well as

   officers acting in an undercover capacity. The contingent of police was assisted by



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   various federal agencies including the FBI, Department of Homeland Security and

   personnel from the Federal Terrorism Task Force. Based on recent revelations, upon

   information and belief, Plaintiff asserts that this assistance may have included illegal

   surveillance by federal authorities.

19. On November 27, 2011, the Mayor of Philadelphia, Michael Nutter, along with

   Defendant Police Commissioner Ramsey, issued an order evicting the Occupy Philly

   protestors from Dilworth Plaza, a public space, adjacent to City Hall in the Center City

   District of Philadelphia, Pennsylvania. In conjunction with that order, the named and

   unnamed Defendants, such as Commissioner Ramsey, Deputy Commissioner Bethel,

   Captain Fisher, and other ranking members of the Philadelphia Police Department, in

   coordination with federal law enforcement agencies, and others, planned the removal of

   the Occupy Philly protestors, including Plaintiff, from Dilworth Plaza.       This plan

   required coordination with various other city departments, including Philadelphia Fire

   Department, The Department of Licenses and Inspections, as well as the Philadelphia

   Department of Corrections.

20. In the early morning hours of November 30, 2011, a massive police presence was

   deployed to the area surrounding Dilworth Plaza. The presence included hundreds of

   uniformed police officers from various units as well as Philadelphia Fire Department

   personnel. The police blocked off the adjacent streets surrounding City Hall, which

   included but was not limited to JFK Boulevard, 15th Street, Market Street and 16th Street

   all the way to Chestnut Street, as well as the south entrance to Broad Street. This

   deployment served as a "blockade" of the public space known as Dilworth Plaza, trapping

   anyone in and around that location. This blockade was designed to remove by force, or



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   "evict" all of the Occupy Philly protestors who had been exercising their First

   Amendment rights during the previous seven weeks. This plan included the physical

   destruction of the encampment, and all personal property contained therein, as well as the

   arrest of demonstrators.

21. At approximately 1:30 a.m. on November 30, 2011, as the Philadelphia police officers

   moved in to the Dilworth Plaza, they discovered that the encampment had been vacated

   by the Occupy Philly protestors, many of whom had gathered near the corner of 15th and

   Market Streets. Once Philadelphia police officers had entered Dilworth Plaza they began

   tearing down the tents that had been used during the previous weeks as part of the

   ongoing Occupy protest.

22. Shortly after numerous Philadelphia police officers swept through Dilworth Plaza, two

   plaintiffs in a related action, James Savage and T.J. Ghose, standing with other protestors

   in the area of 15th and Market Streets, expressing their First Amendment rights, were

   thwarted in their protest by the police as they were unlawfully arrested by Defendant

   Officers.

23. The arrests of James Savage and T.J. Ghose were the first of many causing the

   deprivation of First Amendment rights that night; numerous arrests were subsequently

   conducted without probable cause or legal justification.

24. Following the police entry onto Dilworth Plaza, a large group of protestors began a

   march through Center City. Followed by a massive contingent of Philadelphia Police on

   foot, bicycles and in vehicles, the protest eventually headed north on Broad Street for

   several blocks to Spring Garden Street in Philadelphia. Upon reaching Spring Garden




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   Street, the protest march continued west on Spring Garden and then south on 15th Street,

   and included Plaintiff.

25. When the protestors, including Plaintiff, reached the intersection of 15th and Hamilton

   Streets in Philadelphia, Pennsylvania, they were met by a large contingent of police

   officers. Behind the marchers, police had stationed vehicles, as well as another large

   contingent of police officers blocking their movement toward Spring Garden Street.

   Boxed in by the Philadelphia police officers in the front and rear, with buildings on either

   side, the marchers, including Plaintiff, were physically trapped by a police blockade.

26. At some point earlier in the evening, high ranking police officials, including Defendant

   Commissioner Ramsey, Deputy Commissioner Bethel, Deputy Chief Inspector John Doe,

   Deputy Commissioner John Doe, Captain William Fisher of the Civil Affairs Unit, made

   the decision to arrest the protestors, based solely upon the anticipated march or marches

   that followed the forced removal of the Occupy Philly encampment from the public space

   known as Dilworth Plaza. The decision to arrest the marchers, including Plaintiff, was

   not based on the commission of any crime, but rather on their continued peaceful

   expression of First Amendment rights.

27. Despite the history of peaceful protest marches throughout the Occupy Philly

   encampment, Plaintiff and others were confronted by the lines of police officers, many

   with bicycles placed strategically in front of them. As a result of the Defendants’

   conduct, the march was halted.

28. On November 30, 2011, at approximately 4:45 in the morning, Deputy Commissioner

   Bethel ordered the termination of the protest march. Upon information and belief,




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   Defendant Deputy Commissioner Bethel received those orders from Defendant Police

   Commissioner Ramsey.

29. Defendant Captain William Fisher ordered the marchers, including Plaintiff, onto the

   sidewalk on the east side of the street. Defendant Captain Fisher announced that if

   anyone did not comply with the order to move to the sidewalk they would be arrested.

   Complying with the Order, Plaintiff and others moved from the street to the sidewalk on

   the east side of the street. At that point, Plaintiff was surrounded by Defendant police

   officers, both named and not yet identified, on bicycles. Plaintiff was corralled against the

   wall of a building and unable to move. The marchers on the west side of the street were

   not corralled by police, but rather dispersed by force and intimidation.

30. The Defendant Philadelphia police officers upon orders from Defendants, Commissioner

   Ramsey, Deputy Commissioner Bethel, Captain William Fisher, and other unnamed

   Defendants falsely arrested Plaintiff and others.

31. In violation of his First, Fourth, and Fourteenth Amendment rights, Plaintiff was

   handcuffed and taken into custody. Plaintiff was charged with failure to disperse as a

   misdemeanor of the second degree, obstructing the highway as a misdemeanor of the

   third degree, and criminal conspiracy, a misdemeanor of the second degree. Plaintiff was

   falsely arrested, processed and held over twenty-four hours in police custody and released

   on bail.

32. All of the aforementioned actions taken by each of the Defendants in this matter were

   taken under color of state law.

33. As a direct and proximate result of the Defendants’ actions, Plaintiff was deprived of

   rights, privileges and immunities under the First, Fourth, and Fourteenth Amendments to



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   the United States Constitution and, in particular, the right to be free from retaliatory

   conduct against protected speech and assembly, the right to be free from excessive force,

   the right to be free from unlawful arrest, the right to be free from malicious prosecution,

   and the right to due process of law. Plaintiff was similarly deprived of the right not to be

   the victim of conspiracies of state actors to violate the aforementioned clearly established

   rights.

34. The actions and/or inactions of the Defendants violated the clearly established federal

   constitutional rights of Plaintiff to freedom from retaliation against protected speech and

   assembly, freedom from the use of excessive, unreasonable, and unjustified force against

   their person, the right to be free from false arrest and malicious prosecution, and the right

   to due process of law.

35. As a direct and proximate result of the actions and/or inactions of the Defendants in this

   matter, Plaintiff has suffered physical pain, substantial and potentially permanent

   physical injury, loss of liberty, anxiety, fear, mental harm, and financial loss.

36. On April 26, 2012, Plaintiff was acquitted of all charges.




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                                          COUNT I

          42 U.S.C. § 1983: Retaliation Against Protected Speech and Assembly
                          Against All Individual Defendants

37. Paragraphs 1 through 36 are incorporated herein by reference as though fully set forth.

38. Plaintiff was damaged and injured as set forth above under 42 U.S.C. § 1983 by

   Defendants in that they, as described in detail in preceding paragraphs, violated

   Plaintiff’s constitutional rights while acting under color of law.       More specifically,

   Defendants took retaliatory action against Plaintiff that was intended to violate their

   clearly established constitutional rights to protected speech and assembly. The actions

   taken by Defendants adversely affected Plaintiff’s protected speech and assembly rights.

39. Defendants, by their actions including, but not limited to, terminating the protest march,

   and falsely arresting Plaintiff, denied Plaintiff his individual right to free expression to

   demonstrate, march, and gather in protest, and to express his individual political views on

   matters of great public concern.

40. The actions of the Defendants in terminating the protest march, and falsely arresting

   Plaintiff, had a chilling effect on the Plaintiff’s free speech and assembly rights under the

   First Amendment. The Defendants by their conduct in terminating the Plaintiff’s protest

   march, acted with deliberate indifference towards the Plaintiff’s individual First

   Amendment rights.

41. As a direct and proximate cause of the Defendants’ unlawful actions, there was a chilling

   effect on the Plaintiff’s future free speech and assembly rights protected by the First

   Amendment of the United States Constitution.




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42. As a direct and proximate cause of the Defendants’ unlawful actions, Plaintiff suffered

   emotional distress, pain and suffering, as well as financial loss, which will be established

   as trial.


                                         COUNT II

                            42 U.S.C. § 1983: Excessive Force
                            Against All Individual Defendants


43. Paragraphs 1 through 42 are incorporated herein by reference as though fully set forth.

44. Plaintiff was damaged and injured as set forth above under 42 U.S.C. § 1983 by

   Defendant Officers in that they, as described in detail in preceding paragraphs, violated

   Plaintiff’s constitutional rights while acting under color of law.      More specifically,

   Defendant Officers intentionally acted to cause a harmful and/or offensive contact with

   Plaintiff’s persons and such actions were the actual and proximate cause of Plaintiff’s

   harm.



                                        COUNT III

                          Supplemental State Law Claim: Battery
                            Against All Individual Defendants


45. Paragraphs 1 through 44 are incorporated herein by reference as though fully set forth.

46. Plaintiff was damaged and injured as set forth above by Defendant Officers in that they

   intentionally acted to cause a harmful and/or offensive contact with Plaintiff’s persons

   and such actions were the actual and proximate cause of Plaintiff’s harm.




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                                        COUNT IV

                                42 U.S.C. § 1983: Assault
                            Against All Individual Defendants


47. Paragraphs 1 through 46 are incorporated herein by reference as though fully set forth.

48. Plaintiff was damaged and injured as set forth above under 42 U.S.C. § 1983 by

   Defendant Officers in that they, as described in detail in preceding paragraphs, violated

   Plaintiff’s constitutional rights while acting under color of law.      More specifically,

   Defendant Officers intentionally placed Plaintiffs in reasonable apprehension of

   imminent harmful and/or offensive bodily contact, and Defendants’ actions were the

   actual and proximate cause of Plaintiff’s harm.



                                         COUNT V

                          Supplemental State Law Claim: Assault
                            Against All Individual Defendants


49. Paragraphs 1 through 48 are incorporated herein by reference as though fully set forth.

50. Plaintiff was damaged and injured as set forth above by Defendant Officers in that they

   intentionally placed Plaintiff in reasonable apprehension of imminent harmful and/or

   offensive bodily contact, and Defendants’ actions were the actual and proximate cause of

   Plaintiff’s harm.




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                                        COUNT VI

                            42 U.S.C. § 1983: Unlawful Arrest
                            Against All Individual Defendants


51. Paragraphs 1 through 50 are incorporated herein by reference as though fully set forth.

52. Plaintiff was damaged and injured as set forth above under 42 U.S.C. § 1983 by

   Defendant Officers in that they, as described in detail in preceding paragraphs, violated

   Plaintiff’s constitutional rights while acting under color of law.        More specifically,

   Defendant Officers acted with the intent to arrest Plaintiff unlawfully, without probable

   cause, and against Plaintiff’s will, and such actions were the actual and proximate cause

   of Plaintiff’s confinement.



                                        COUNT VII

                   Supplemental State Law Claim: False Imprisonment
                          Against All Individual Defendants


53. Paragraphs 1 through 52 are incorporated herein by reference as though fully set forth.

54. Plaintiff was damaged and injured as set forth above by Defendant Officers in that they

   acted with the intent to confine Plaintiff unlawfully and against Plaintiff’s will, and such

   actions were the actual and proximate cause of Plaintiff’s confinement.




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                                        COUNT VIII

                            42 U.S.C. § 1983: Unjustified Search
                             Against All Individual Defendants


55. Paragraphs 1 through 54 are incorporated herein by reference as though fully set forth.

56. Plaintiff was damaged and injured as set forth above under 42 U.S.C. § 1983 by

   Defendant Officers in that they, as described in detail in preceding paragraphs, violated

   Plaintiff’s constitutional rights while acting under color of law.      More specifically,

   Defendant Officers conducted unlawful searches of Plaintiff’s persons and such actions

   were the actual and proximate cause of Plaintiff’s harm.



                                        COUNT IX

                          42 U.S.C. § 1983: Malicious Prosecution
                            Against All Individual Defendants


57. Paragraphs 1 through 56 are incorporated herein by reference as though fully set forth.

58. Plaintiff was damaged and injured as set forth above under 42 U.S.C. § 1983 by

   Defendant Officers in that they, as described in detail in preceding paragraphs, violated

   Plaintiff’s constitutional rights while acting under color of law.      More specifically,

   Defendant Officers seized and arrested Plaintiff and instituted criminal proceedings

   against Plaintiff without probable cause and with malice. These proceedings terminated

   in favor of Plaintiff.   Defendants’ conduct was the direct and proximate cause of

   Plaintiff’s harm.




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                                         COUNT X

                  Supplemental State Law Claim: Malicious Prosecution
                          Against All Individual Defendants


59. Paragraphs 1 through 58 are incorporated herein by reference as though fully set forth.

60. Plaintiff was damaged and injured as set forth above by Defendants in that they instituted

   criminal proceedings against Plaintiff without probable cause and with malice and where

   such proceedings were terminated in favor of the Plaintiff.



                                        COUNT XI

                              42 U.S.C. § 1983: Conspiracy
                            Against All Individual Defendants


61. Paragraphs 1 through 60 are incorporated herein by reference as though fully set forth.

62. Plaintiff was damaged and injured as set forth above under 42 U.S.C. § 1983 by

   Defendants in that they, as described in detail in preceding paragraphs, violated

   Plaintiff’s constitutional rights while acting under color of law.      More specifically,

   Defendants, acting in concert and conspiracy, committed acts in violation of the

   Plaintiff’s Constitutional Rights and against the laws of Pennsylvania. The Defendants

   acted in conspiracy to violate the Plaintiff’s Constitutional Rights as stated in the above

   paragraphs, and made statements among themselves and others in order to conceal their

   unlawful and unconstitutional conduct. Such actions were the direct and proximate cause

   of Plaintiff’s harm.




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                                        COUNT XII

                        Supplemental State Law Claim: Conspiracy
                           Against All Individual Defendants


63. Paragraphs 1 through 62 are incorporated herein by reference as though fully set forth.

64. Defendant Officers acting in concert and conspiracy, committed acts in violation of the

   Plaintiff’s Constitutional Rights and against the laws of Pennsylvania. The Defendant

   Officers made statements among themselves and others in order to conceal their unlawful

   and unconstitutional conduct.



                                        COUNT XIII

           Supplemental State Law: Intentional Infliction of Emotional Distress
                          Against All Individual Defendants


65. Paragraphs 1 through 64 are incorporated herein by reference as though fully set forth.

66. Plaintiff was damaged and injured as set forth above by Defendant Officers in that they

   intentionally and/or recklessly caused Plaintiff severe emotional distress by their extreme

   and outrageous conduct.



                                        COUNT XIV

        Supplemental State Law Claim: Negligent Infliction of Emotional Distress
                          Against All Individual Defendants


67. Paragraphs 1 through 66 are incorporated herein by reference as though fully set forth.

68. Plaintiff was damaged and injured as set forth above by Defendant Officers in that they

   negligently caused Plaintiff severe emotional distress by their extreme and outrageous



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   conduct and where Plaintiff’s emotional distress resulted in the manifestation of physical

   symptoms.


                                         COUNT XV

                                 42 U.S.C. § 1983: Monell
                          Against Defendant City of Philadelphia

69. Paragraphs 1 through 68 are incorporated herein by reference as though fully set forth.

70. Prior to November 30, 2011, the City of Philadelphia, including Defendant Police

   Commissioner Ramsey as a policy maker, developed and maintained policies and/or

   customs exhibiting deliberate indifference to the constitutional rights of individuals

   during the course of protests that caused a violation of Plaintiff’s rights.

71. Defendant, City of Philadelphia, as a matter of policy and practice and/or custom has

   with deliberate indifference, failed to adequately and properly investigate claims that the

   police had wrongfully arrested individuals during the course of demonstrations, in this

   case, Plaintiff, who was engaged in a peaceful protest march. This policy and practice

   caused the Defendant officers in this case to engage in the unlawful conduct described

   above.

72. Defendant, City of Philadelphia, as a matter of policy and practice and/or custom has

   with deliberate indifference, failed to adequately and properly supervise and train police

   officers, including the Defendants in this case, regarding the constitutional rights of

   protestors, thereby failing to adequately discourage further constitutional violations on

   the part of its police officers. The City of Philadelphia did not require appropriate in-

   service training or retraining of its officers who were known to have engaged in false

   arrests of protestors protected by the First Amendment. The failure to properly supervise



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   and train the Defendant police officers including the Defendants in this case, caused the

   Defendant officers to engage in the unlawful conduct described above.

73. Defendant, City of Philadelphia, as a matter of policy and practice and/or custom has

   with deliberate indifference, failed to adequately and properly discipline and sanction

   police officers, including the Defendants in this case, regarding the constitutional rights

   of protestors, thereby failing to adequately discourage further constitutional violations on

   the part of its police officers. The City of Philadelphia failed to discipline and sanction

   those officers engaged in conduct which violated the First Amendment rights of

   protestors, thereby causing and encouraging police, including the Defendants in this case,

   to engage in the unlawful conduct described above.

74. As a result of the above-described policies and customs, police officers of the City of

   Philadelphia, including the Defendant officers, believe that their actions would not be

   properly monitored by supervisory officers and that their misconduct would not be

   investigated or sanctioned, but rather would be tolerated.

75. The above-described policies and customs demonstrate a deliberate indifference on the

   part of the policymakers of the City of Philadelphia, to the constitutional rights of persons

   within the City of Philadelphia, including those exercising their First Amendment rights,

   and therefore, caused the violation of Plaintiff’s rights alleged herein.

76. As a direct and proximate cause of the Defendants’ unlawful actions, Plaintiff suffered

   emotional distress, pain and suffering and financial loss, which will be established as

   trial.




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                                           DAMAGES

   77. Paragraphs 1 through 76 are incorporated herein by reference as though fully set forth.

   78. As a result of the above actions and claims, Plaintiff demands judgment against all

       defendants in the amount of all damages, including:

       a. compensatory damages;

       b. punitive damages;

       c. interest;

       d. injunctive relief;

       e. such other relief as appears reasonable and just; and

       f. reasonable attorney fees and costs under 42 U.S.C. § 1988.



Respectfully submitted,


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Lloyd Long III, Esquire


Attorney for Plaintiff




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